         Case 23-03549-MM7                 Filed 12/21/23          Entered 12/21/23 14:49:45         Doc 20      Pg. 1 of 2
CSD 1001A [07/01/18]
Name, Address, Telephone No. & I.D. No.

 NEXUS BANKRUPTCY
 BENJAMIN HESTON (297798)                                                                     December 21, 2023
 3090 Bristol Street #400
 Costa Mesa, CA 92626
 Tel: 949.312.1377 // Fax: 949.288.2054


               UNITED STATES BANKRUPTCY COURT
                       SOUTHERN DISTRICT OF CALIFORNIA
                  325 West F Street, San Diego, California 92101-6991

 In Re
 MARIA RAMONA ACOSTA,                                                              BANKRUPTCY NO. 23-03549-MM7

                                                                                   Date of Hearing: n/a
                                                                                   Time of Hearing: n/a
                                                                                   Name of Judge: Hon. Margaret M. Mann
                                                                         Debtor.



                                                                    ORDER ON
                                 EX PARTE MOTION TO VACATE DISMISSAL AND REINSTATE CASE


           7KHFRXUWRUGHUV as set forth on the continuation pages attached andQumbered             2     through    2   with

  exhibits, if any, for a total of   2    pages. Motion/Application Docket Entry No.      19 .

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  DATED:         December 21, 2023
                                                                          Judge, United States Bankruptcy Court




CSD 1001A
       Case 23-03549-MM7           Filed 12/21/23      Entered 12/21/23 14:49:45         Doc 20       Pg. 2 of 2
 CSD 1001A [07/01/18](Page 2)
 ORDER ON EX PARTE MOTION TO VACATE DISMISSAL AND REINSTATE CASE
 DEBTOR: MARIA RAMONA ACOSTA,                                                           CASE NO: 23-03549-MM7



 On December 20, 2023, Debtor, Maria Ramona Acosta, filed an ex parte motion to vacate the dismissal order, reinstate
 the case, and re-notice the 341(a) examination. The Court, having reviewed and considered the motion,

 ORDERS AS FOLLOWS:
 1. The motion is granted and the dismissal entered as Docket #14 is vacated;
 2. Leonard Ackerman is reassigned to the case and the Court will re-notice the 341(a) examination.




CSD 1001A


                                                                       Signed by Judge Margaret M. Mann December 21, 2023
